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 1 PATRICK HAMMON (255047)
   McMANIS FAULKNER
 2 a Professional Corporation
   50 West San Fernando Street, 10th Floor
 3 San Jose, California 95113
   Telephone:     (408) 279-8700
 4 Facsimile:     (408) 279-3244
   Email:         phammon@mcmanislaw.com
 5
   Attorneys for Non-Party,
 6 ROBLOX INC.

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 8                            UNITED STATES DISTRICT COURT
 9                         NORTHERN DISTRICT OF CALIFORNIA
10                                    OAKLAND DIVISION
11

12   EPIC GAMES, INC.                            Case No.: 4:20-cv-05640-YGR
13                Plaintiff, Counter-Defendant   DECLARATION OF MARK BARBOLAK
                                                 IN SUPPORT OF APPLE INC.’S AND
14        vs.                                    EPIC GAMES, INC.’S MOTIONS TO
                                                 SEAL CERTAIN EXPERT TESTIMONY
15   APPLE INC.
16                Defendant, Counterclaimant
                                                 Judge: Hon. Yvonne Gonzalez Rogers
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     DECLARATION OF MARK BARBOLAK IN SUPPORT OF APPLE INC.’S AND EPIC GAMES, INC.’S
     MOTIONS TO SEAL CERTAIN EXPERT TESTIMONY; Case No.: 4:20-cv-05640-YGR
     Case 4:20-cv-05640-YGR Document 573-1 Filed 05/03/21 Page 2 of 3



 1          I, Mark Barbolak, declare as follows in support of Apple’s Administrative Motion to
 2   Partially Seal Expert Written Direct Testimony (the “Apple Motion”) (Dkt. No 489) and Epic
 3   Games, Inc.’s Administrative Motion to Seal Portions of its Expert Written Direct
 4   Examinations (the “Epic Motion”) (Dkt. No. 509):
 5          1.      I am Associate General Counsel of Roblox Corporation (“Roblox”). If called as
 6   a witness, I could and would testify competently to all facts stated herein as follows:
 7          2.      I have reviewed the Apple and Epic Motions, which seek, inter alia, to keep
 8   Figure Five of the Written Direct Testimony of Lorin M. Hitt (“Figure 5”) under seal.
 9          3.      Figure 5 is a pie chart reflecting data contained in Apple Inc.’s Exhibit DX-3879
10   (“DX-3879”). Roblox moved to seal DX-3879 (the “Roblox Administrative Motion,” Dkt. 525)
11   because DX-3879 contains highly sensitive, confidential, competitively valuable information
12   about active users of the Roblox platform. Roblox expends significant effort to keep this
13   information confidential. This information is not shared with a third party unless such party is
14   bound by a written confidentiality agreement.
15          4.      Roblox would likely suffer competitive harm were this information to be made
16   public. The disclosure of user information would provide actionable intelligence to competitors
17   who could use it to focus their efforts on particular distribution platforms in order to gain a
18   competitive advantage over Roblox. In order to prevent precisely such anticipated competitive
19   harm, the above information was designated as CONFIDENTIAL or HIGHLY
20   CONFIDENTIAL – ATTORNEYS’ EYES ONLY, pursuant to the Stipulated and Amended
21   Protective Order dated January 21, 2021 (the “Protective Order”) (Dkt. No. 274), when Roblox
22   produced DX-3879 to Apple in response to its subpoena to Roblox in this litigation.
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      DECLARATION OF MARK BARBOLAK IN SUPPORT OF APPLE INC.’S AND EPIC GAMES, INC.’S
      MOTIONS TO SEAL CERTAIN EXPERT TESTIMONY; Case No.: 4:20-cv-05640-YGR
     Case 4:20-cv-05640-YGR Document 573-1 Filed 05/03/21 Page 3 of 3



 1            5.     This Court granted Roblox’s motion to seal DX-3879. Dkt. 547. Since Figure 5
 2   represents visually the data from DX-3879 that the Court has already ordered sealed, Figure 5
 3   should remain under seal as well.
 4            I declare under penalty of perjury that the foregoing is true and correct.
 5
     Executed on this 3rd day of May, 2021
 6

 7                                                                  /s/ Mark Barbolak
                                                                    Mark Barbolak
 8
                                               ATTESTATION
 9
              Pursuant to Civil Local Rule 5-1(i)(3) regarding signatures, I attest under penalty of
10
     perjury that the concurrence in the filing of this document has been obtained from the signatory
11
     above.
12

13                                                      McMANIS FAULKNER
     DATED: May 3, 2021
14

15                                                       /s/ Patrick Hammon
                                                         PATRICK HAMMON
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                                                         Attorneys for Non-Party,
17                                                       ROBLOX INC
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      DECLARATION OF MARK BARBOLAK IN SUPPORT OF APPLE INC.’S AND EPIC GAMES, INC.’S
      MOTIONS TO SEAL CERTAIN EXPERT TESTIMONY; Case No.: 4:20-cv-05640-YGR
